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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,
SMARTMATIC HOLDING B.V., AND
SGO CORPORATION LIMITED,

             Plaintiffs,

     v.                              Civil Action No. 1:21-cv-02900-CJN

HERRING NETWORKS, INC., D/B/A
ONE AMERICA NEWS NETWORK,

             Defendant.


     DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT ON
          ACTUAL MALICE AND MEMORANDUM OF POINTS
                  AND AUTHORITIES IN SUPPORT
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         Herring Networks, Inc., D/B/A One America News Network (“OAN”) files this Motion

for Partial Summary Judgment on Actual Malice and Request for Hearing as follows:

         Defendant OAN moves this Court for an order granting this motion for partial summary

judgment under Fed. R. Civ. P. 56(a) on actual malice (“Motion”). OAN requests a 90 minute

hearing (45 minutes for each side) due to the size of the record and importance of the First

Amendment issues at stake. The Motion is ripe for decision because fact discovery closed

yesterday, December 8, 2023, pursuant to the Court’s Scheduling Order signed October 11, 2022

[Dkt. 42].

                                    I.      INTRODUCTION

         Constitutionally compelled “actual malice” affects this defamation case in two ways. First,

if a plaintiff is a corporation, public figure or public official, it must show “clear and convincing”

evidence of “actual malice” at both the summary judgment and trial stages of the case because

proof of “actual malice” is an essential element of the claim. See Anderson v. Liberty Lobby, 477

U.S. 242, 257 (1986) (“[A] court ruling on a motion for summary judgment must be guided by the

New York Times [v. Sullivan] ‘clear and convincing’ evidentiary standard in determining whether

a genuine issue of actual malice exists — that is, whether the evidence presented is such that a

reasonable jury might find that actual malice had been shown with convincing clarity.”). In

Anderson, the Court reversed the District of Columbia Court of Appeals, which had applied the

traditional summary judgment standard. Whether Plaintiffs1 are corporations, public figures, or

officials required to prove actual malice is a question of law. See Jankovic v. Int’l Crisis Grp., 822

F.3d 576, 585 (D.C. Cir. 2016). In a defamation action, the plaintiff’s status as a public or private



1
    Plaintiffs as referenced herein include named plaintiffs Smartmatic USA Corp., Smartmatic
    Holding B.V., and SGO Corporation Limited (together, “Smartmatic”).



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figure “is pervasive” and should be “answered as soon as possible.” Miller v. Transamerican Press,

621 F.2d 721, 724 (5th Cir. 1980), mod’f on reh’r, 628 F.2d 932 (5th Cir. 1980).2

          Second, a plaintiff must show clear and convincing evidence of “actual malice” to obtain

punitive damages. See Straw v. Chase Revel, Inc., 813 F.2d 356, 361 (11th Cir. 1987) (“[I]n Gertz

[v. Welch] the Supreme Court held that punitive or presumed damages may not be awarded in a

defamation case unless the plaintiff can show that Defendant acted with actual malice.”). The clear

and convincing standard for “actual malice” on damages is applicable at the summary judgment

stage as well. See Pearce v. E.F. Hutton Grp., 664 F. Supp. 1490, 1518 (D.D.C. 1987).

          Constitutional “actual malice” has a precise meaning at odds with the common law

understanding of malice as bad faith and evil motive. See Novecon Ltd v. Bulgarian-American

Enter. Fund, 190 F.3d 556 (D.C. Cir. 1999). As the Court held in New York Times v. Sullivan, 376

U.S. 254, 279-80 (1964), constitutional guarantees “require, we think, a federal rule that prohibits

a public official from recovering damages for a defamatory falsehood relating to his official

conduct unless he proves that the statement was made with ‘actual malice’ — that is, with

knowledge that it was false or with reckless disregard of whether it was false or not.”

          The Court later explained that “reckless conduct is not measured by whether a reasonably

prudent man would have published, or would have investigated before publishing. There must be

sufficient evidence to permit the conclusion that the defendant in fact entertained serious doubts

as to the truth of his publication.” St. Amant v. Thompson, 390 U.S. 727, 731 (1968).



2
    Courts in this Circuit have repeatedly held that all corporate plaintiffs must prove actual malice
    in defamation claims against the mass media. See OAO Alfa Bank v. Center for Pub. Integrity,
    387 F. Supp. 2d 20, 47-48 (D.D.C. 2005) (“OAO”). Furthermore, Plaintiffs are public figures
    under the test articulated by the United States Supreme Court in Gertz v. Robert Welch, Inc., 418
    U.S. 323 (1974) (“Gertz”) and the District of Columbia Circuit in McFarlane v. Sheridan Press,
    Inc., 91 F.3d 1501 (D.C. Cir. 1996).



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       The Supreme Court in Gertz subsequently extended the “actual malice” element required

in defamation cases to public figure plaintiffs and this court has applied it to corporate plaintiffs.

See OAO Alpha Bank, 387 F. Supp. 2d at 47-48.

       The record contains absolutely no evidence of “actual malice” — and certainly none that

rises to the level of clear and convincing — but rather refutes it. And Plaintiffs — despite having

over a year to conduct discovery — are unable to demonstrate any “actual malice” regarding the

complained of broadcasts or posts (some of which were not even produced by OAN). The Court

should decide the legal question regarding the Plaintiff’s status as a public or private figure (“a

pervasive issue”) and further determine that there are no facts that would permit a reasonable jury

to find by clear and convincing evidence that any of the complained of broadcasts or posts were

published by OAN with actual malice.

                                II.    STATEMENT OF FACTS

       A.      Plaintiffs are Corporations and have Sued a Member of the Mass Media for
               Defamation on a Matter of Public Concern

       It is undisputed that Plaintiffs are corporate entities who have brought this defamation

lawsuit against a member of the mass media, see Statement of Undisputed Material Facts

(“Statement”) §§ 4-7 (submitted herewith and incorporated by reference), and that the subject of

the alleged defamation (integrity of a national election) is a matter of public concern.

       B.      Public Controversies Regarding Smartmatic Specifically and Electronic
               Voting Machines Generally Before, During, and After the 2020 Presidential
               Election (“2020 Election”)

       As we show in the Statement, electronic voting machines generally and Smartmatic

specifically were subject to multiple controversies resulting in extensive media coverage years

before, during, and after the 2020 Election. See Statement at ¶¶ 9-100, 134-148. These public

controversies affected more than the immediate participants; Plaintiffs’ role in the controversies



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was more than trivial or tangential; and the claimed defamation related to Plaintiffs’ roles in the

controversy, which is the test for public figure status. See Waldbaum v. Fairchild Publications,

Inc., 627 F.2d 1287, 1294-97 (D.C. Cir. 1980) (“Waldbaum”). Furthermore, by administering

these elections, Smartmatic was performing a governmental function and is, thus, a public official.

         C.      Refutation of Actual Malice

         OAN relied on press coverage, government documents and investigations as well as

sources it believed at the time of publication (which is the pertinent period) were credible. 3 We

detail those factual matters in our Statement.

         D.      Plaintiffs’ Allegations

         The Plaintiffs’ 193 page Complaint, with several hundred pages of exhibits, complains of

26 unique OAN Broadcasts (“Complained of Broadcasts”), four programs produced by Mike

Lindell (“Lindell Programming”), and ten internet posts (“OAN Posts”) (together, the




3
    See Exs. B, C, E-M, O-121-150. The news articles and court and congressional records are
    admissible under judicial notice. See Fed. R. Evid. 201; Montgomery v. Risen, 197 F. Supp. 3d
    219, 260 n. 32 (D.D.C. 2016) (“Courts regularly rely on media publications, government records,
    arrest records and other purportedly hearsay documents when considering defendants’ motions
    for summary judgement in defamation cases.”); see e.g., Liberty Lobby, Inc. v. Dow Jones &
    Co., Inc., 838 F.2d 1287, 1296-97 (substantively discussing several articles upon which the
    defendant had relied); U.S. ex rel. Osheroff v. Humana Inc., 776 F.3d 805, 811 n.4. (11th Cir.
    2015) (“[C]ourts may take judicial notice of documents such as the newspaper articles at issue
    here for the limited purpose of determining which statements the documents contain (but not for
    determining the truth of those statements).”); Farah v. Esquire Magazine, 736 F.3d 528, 534
    (D.C. Cir. 2013) (“Judicial notice is properly taken of publicly available historical articles.”).
    Ford v. Artiga, No. 2:12-cv-02370, 2013 WL 3941335, at *7 n.5 (E.D. Cal. July 30, 2013)
    (“Defendants request that the court take judicial notice of newspaper and internet articles
    published in 2004 that discuss plaintiff’s accusations. (ECF 29-4.) The court takes judicial notice
    of the publication of these articles, but not of the truth of their content.”); White v. City of
    Birmingham, 96 F. Supp. 3d 1260, 1274 (N.D. Ala. 2015) (“[T]he AL.com news articles are
    analogous to traditional newspaper articles and could be found self-authenticating at trial. See
    Fed. R. Evid. 902(6).”).



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“Complained of Publications”). A list of those publications is attached hereto as Index of

Complained of Publications.

       Plaintiffs allege OAN (1) had no support for its statements about Smartmatic, (2) did not

have sources to prove something that did not happen, (3) purposefully avoided learning the truth

about Smartmatic and its elections technology, (4) had access to information showing its

statements were factually inaccurate, (5) knew Smartmatic’s election technology and software

were not widely used in other voting machines in the Election, (6) knew Smartmatic’s elections

technology and software were not used to fix, rig, or steal the Election, (7) knew Smartmatic’s

election technology and software were not compromised or hacked during the Election and did not

send votes overseas, (8) knew that corrupt dictators did not control Smartmatic, and (9) knew

Smartmatic’s election technology had not been designed to or used to fix, rig, or steal elections.

[Dkt. 1: ¶¶ 3, 120-157].

       Plaintiffs further allege (1) OAN’s guests did not provide evidence supporting their

statements about Smartmatic, (2) OAN did not corroborate the statements about Smartmatic, (3)

OAN was aware of publicly available information that contradicted statements by Rudy Giuliani,

Sidney Powell, Mike Lindell and others about Smartmatic, (4) OAN knew its guests were biased

and not credible but did not disclose that to the audience, (5) OAN knowingly violated journalistic

standards, and (6) OAN used its disinformation campaign against Smartmatic for financial gain

and acted with ill-will and improper motives. [Dkt. 1: iii, ¶¶ 158-97].

       Plaintiffs allege OAN acted with actual malice and seek punitive damages. [Dkt. 1: ¶ 193].




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                                        III.    ARGUMENT

        A.      Actual Malice is an Essential Element of Plaintiffs’ Claims Because Plaintiffs
                are (i) Corporations Suing a Mass Media Defendant for Defamation (ii)
                Limited Purpose Public Figures, and/or (iii) Public Officials Carrying Out a
                Governmental Function.

        In New York Times v. Sullivan, the Supreme Court noted the “profound national

commitment to the principle that debate on public issues should be uninhibited, robust, and wide-

open . . . .” 376 U.S. at 270. It recognized that “erroneous statement is inevitable in free debate,

and that it must be protected if the freedoms of expression are to have the ‘breathing space’ that

they ‘need . . . to survive[.]’” Id. at 271-72 (quoting N. A. A. C. P. v. Button, 371 U. S. 415, 433

(1963)). This was not a novel idea. James Madison, the original author of the First Amendment’s

free speech and press clauses, observed that “[s]ome degree of abuse is inseparable from the proper

use of everything; and in no instance is this more true than in that of the press.” 4 ELLIOT’S

DEBATES ON THE FEDERAL CONSTITUTION (1876), p. 571. More than two decades before Sullivan

was decided, the D.C. Circuit explained that, in public discourse, “[e]rrors of fact . . . are inevitable

. . . Whatever is added to the field of libel is taken from the field of free debate.” Sweeney v.

Patterson, 128 F.2d 457, 458 (D.C. Cir. 1942).

        In the service of this longstanding, “profound national commitment” to protect the

“breathing space” necessary for public debate to flourish despite the “inevitable” false statement,

the Supreme Court has imposed heightened requirements on certain types of defamation plaintiffs.

Public officials and public figures cannot prevail in a defamation suit unless they produce “clear

and convincing evidence that the defendant published the defamatory statement with actual malice,

i.e., with ‘knowledge that it was false or with reckless disregard of whether it was false or not.’”

Masson v. New Yorker Magazine, Inc., 501 U.S. 496, 510 (1991) (quoting Sullivan, 376 U.S. at

279-80; Tavoulareas v. Piro, 817 F.2d 762, 775 (D.C. Cir. 1987) (en banc) (citing Gertz v. Robert



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Welch, Inc. 418 U.S. 323, 342 (1974)). The “public official” and “public figure” categories are

broad, as courts have recognized numerous circumstances in which a defamation plaintiff becomes

one — or both — and is thus required to prove actual malice. Waldbaum, 627 F.2d at 1294-97

(discussing public figures); Baumback v. Am. Broad. Cos., Inc., 161 F.3d 1, *3-4 (4th Cir. 1998)

(discussing public officials).

         As demonstrated below, Smartmatic falls into both categories (as well as being

corporations) — and must prove actual malice — for several reasons.

         B.      This Court’s Precedent Holds that All Corporate Plaintiffs Must Prove Actual
                 Malice in Defamation Claims Against the Mass Media.

         Because Plaintiffs are all corporate entities, the question of their constitutional status is an

easy one. This Court has repeatedly held that “[c]orporate plaintiffs are treated as public figures as

a matter of law in defamation actions brought against mass media defendants involving matters of

legitimate public concern.” OAO Alfa Bank, 387 F. Supp. 2d at 47-48 (citing Metastorm, Inc. v.

Gartner Grp., Inc., 28 F. Supp. 2d 665, 669 (D.D.C. 1998); Martin Marietta Corp. v. Evening Star

Newspaper Co., 417 F. Supp. 947, 955 (D.D.C. 1976)). Accordingly, there is no need for the Court

to analyze Smartmatic’s “public figure” status through the Waldbaum factors discussed below.

OAO Alfa Bank, 387 F. Supp. 2d at 47-48 (applying Waldbaum to natural-person plaintiffs, but

holding that corporate plaintiffs are public figures as a matter of law). The Court need only

determine whether (1) OAN is a member of the mass media, and (2) OAN’s challenged reporting

involves a matter of legitimate public interest.4 Id.


4
    The different treatment of corporate and natural-person defamation plaintiffs is based on their
    fundamentally different reputational interests. See Martin Marietta, 417 F. Supp. at 955-56. As
    recognized in Martin Marietta, the Supreme Court’s opinion in Gertz is premised on the notion
    that doctrines designed to protect the vigor of public debate must sometimes yield to the
    individual’s right to protect their own good name, which “‘reflects no more than our basic
    concept of the essential dignity and worth of every human being[.]’” Id. at 955 (quoting Gertz,
    418 U.S. at 341). A libel action by a corporation does not involve “the essential dignity and


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         There can be no serious dispute that these elements are satisfied. Smartmatic’s own

complaint characterizes OAN as a member of the mass media, noting that “[i]n addition to

operating a cable news channel [available in 35 million homes], OAN[] also operates its website,

and company social media accounts” and makes its content available on “multiple digital platforms

including YouTube and Rumble, and on the subscription service, KlowdTV.” [Dkt. 1: ¶¶ 15-16].

Moreover, OAN’s reporting on claims by the former President and his legal team that the 2020

election had been “stolen” unquestionably involves a matter of legitimate public concern. See

Snyder v. Phelps, 562 U.S. 443, 453 (2011) (“Phelps”) (“Speech deals with matters of public

concern when it can ‘be fairly considered as relating to any matter of political, social, or other

concern to the community’. . . or when it ‘is a subject of legitimate news interest; that is, a subject

of general interest and of value and concern to the public’. . . ”). Indeed, applying the same standard

that this Court applies,5 a federal court in Minnesota recently held in another of Smartmatic’s

defamation cases that the “[t]he invalidity of a presidential election as a result of hacking is a

matter of public concern” and that Smartmatic must therefore be treated a public figure as a matter




    worth of every human being[.]” Id. This distinction between the reputational interests of
    corporations and natural persons remains vital in defamation law and analogous areas. See, e.g.,
    Kaspersky Lab, Inc. v. United States Dep’t of Homeland Sec., 909 F.3d 446, 461–62 (D.C. Cir.
    2018) (“Corporations are very different. To be sure, corporations may derive substantial financial
    value from their brands’ reputations. But that is precisely the point: reputation is an asset that
    companies cultivate, manage, and monetize. It is not a quality integral to a company’s emotional
    well-being, and its diminution exacts no psychological cost. This is why, for example, ‘[t]he law
    of libel has long reflected the distinction between corporate and human plaintiffs by limiting
    corporate recovery to actual damages in the form of lost profits.’”) (quoting Martin Marietta,
    417 F. Supp. at 955).
5
    Like this Court, courts in Minnesota hold that that “corporate plaintiffs in defamation actions
    must prove actual malice by media defendants when the defendants establish that the defamatory
    material concerns matters of legitimate public interest.” Jadwin v. Minneapolis Star & Trib. Co.,
    367 N.W.2d 476, 487 (Minn. 1985) (citing Martin Marietta, 417 F. Supp. at 955).



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of law. Smartmatic USA Corp. v. Lindell, No. 22-CV-0098 (WMW/JFD), 2022 WL 4343299, at

*2 (D. Minn. Sept. 19, 2022).

          C.     Smartmatic is a Limited Purpose Public Figure Under the Waldbaum Test.

          Even if Smartmatic were not treated as a public figure based on its corporate status, it

would still qualify as a limited purpose public figure under the D.C. Circuit’s seminal decision in

Waldbaum.6 Distilling the constitutional principles set forth in Gertz and its progeny, Waldbaum

adopted a three-part test to determine limited purpose public figure status. Under that test, a

plaintiff is a limited purpose public figure if: (1) there is a public controversy; (2) the plaintiff

played more than a trivial or tangential role in the controversy; and (3) the alleged defamatory

statement is germane to the plaintiff’s participation in the controversy. Waldbaum, 627 F.2d at

1296-98; Clyburn v. News World Commc’ns, Inc., 903 F.2d 29, 31 (D.C. Cir. 1990); Tavoulareas

v. Piro, 817 F.2d 762, 772-73 (D.C. Cir. 1987) (en banc); OAO Alfa Bank, 387 F. Supp. 2d at 42

(applying Waldbaum test to natural person plaintiffs). Applying these factors, it is clear that

Smartmatic is a limited purpose public figure for its defamation claim in this case.

                 1.      A Public Controversy Exists Over Concerns About the Security
                         Vulnerabilities and Foreign Ownership of Electronic Voting Systems.

          Under Waldbaum, “a public controversy is a dispute that in fact has received public

attention because its ramifications will be felt by persons who are not direct participants.” 627 F.2d

at 1296. To determine the existence of a public controversy, a court “must examine whether

persons actually were discussing some specific question.” Id. at 1297. Importantly, the “specific


6
    In Gertz, the Supreme Court identified two categories of public-figures plaintiffs: “general” and
    “limited purpose” public figures. A general public figure is one whose “general fame or notoriety
    in the community” is such that they have assumed a “pervasive involvement in the affairs of
    society.” 418 U.S. at 351-352 (emphasis added). Because Smartmatic is at least a limited purpose
    public figure, the Court need not decide whether it is also a general public figure or whether its
    public figure status extends beyond the public controversy at issue here.



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question” must be “broader than the narrower discussion contained in the defamatory document.”

Jankovic v. Int’l Crisis Grp., 822 F.3d 576, 586 (D.C. Cir. 2016). The court should also consider

“if the press was covering the debate, reporting what people were saying and uncovering facts and

theories to help the public formulate some judgment.” Waldbaum, 627 F.2d at 1297.

         As demonstrated above and in the Statement, a public controversy has existed over

concerns about the security of electronic voting systems and foreign ties of the Plaintiffs’ owners.

See supra at II.B. Since the federal government’s push to fund states’ transition to electronic voting

in 2002, public officials and subject-matter experts have raised questions about whether electronic

voting machines and their software are vulnerable to manipulation, hacking, and other sabotage.

These concerns have been the focus of congressional hearings, government investigations, lawsuits

and expert reports. They have also been the subject of extensive media coverage in the United

States and around the world. Waldbaum, 627 F.2d at 1297 (an issue qualifies as a public

controversy “if the press was covering the debate, reporting what people were saying and

uncovering facts and theories to help the public formulate some judgment.”); OAO Alfa Bank, 387

F. Supp. 2d at 47 (“public controversy” inquiry considers worldwide media coverage where

alleged defamation published online). The debate has impacted public policy and resulted in the

expenditure of billions of dollars in taxpayer funds.7 And there is no question that it has affected

more than just its immediate participants. It is virtually impossible to think of a more broadly

consequential issue in a democracy than the integrity and reliability of elections. Indeed, as




7
    The Help America Vote Act and Election Administration: Overview and Selected Issues for the
    2016 Election (congress.gov) (summarizing annual appropriations under HAVA).



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Democratic Congresswoman Carolyn Maloney recognized, it is impossible to “think of a larger

national security threat than not having the total integrity of your voting machines.”8

         This controversy cannot be artificially limited to a single candidate, political party, or

election cycle. As demonstrated above, for years the most vocal concerns about electronic voting

security and foreign ownership issues came from Democrats.9 More recently, the tables have

turned. But the definition of a public controversy is not determined by the party affiliation of its

participants. Nor do new developments in the debate require a redefinition of the controversy.

Public controversies can be durable, multifaceted, overlapping, and recurring — as this one

certainly is.

         The breadth of this public controversy is consistent with other public controversies

recognized by the D.C. Circuit and this Court. In Jankovic, the D.C. Circuit defined the relevant

public controversy as the “progress of political and economic reform in Serbia and the integration

of Serbia into international institutions in the post-Milosevic Serbian government, including the

Prime Minister Djindjic regime.” Jankovic, 822 F.3d at 585. Likewise, in Alfa Bank, this Court

broadly defined the public controversy as “Russian corruption and the future of Western aid and

investment.” 387 F. Supp. 2d at 46. Similarly, in Deripaska v. Associated Press, the Court

identified the relevant controversy as “relating to Russian oligarchs acting on behalf of the Russian

government.” 282 F. Supp. 3d 133, 142 (D.C. Cir. 2017); see also Tavoulareas, 817 F.2d at 767

(public controversy involved “manner in which the United States should respond to the rise of

OPEC and the ensuing energy crisis”); Dameron v. Washington Magazine, Inc., 779 F.2d 736

(D.C. Cir. 1985) (public controversy over government’s administration of air traffic control


8
    Ex. O-97, APP2847.
9
    Exs. O-48, O-93, O-94.



                                                 11
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system); Lohrenz v. Donnelly, 223 F. Supp. 2d 25, 43 (D.D.C. 2002), aff’d, 350 F.3d 1272 (D.C.

Cir. 2003) (public controversy “concerned the role of women in the military and whether women

should be allowed in combat.”); Boley v. Atlantic Monthly Grp., 950 F. Supp. 2d 249, 261 (D.D.C.

2013) (public controversy was “Liberian Civil War”); Foretich v. Advance Mag. Publishers, Inc.,

765 F. Supp. 1099, 1102 (D.D.C. 1991) (public controversy concerned “child abuse, women’s

rights, the intrusion of the state into private affairs, and the limits of punishment for contempt of

court”).

         Based on this precedent and the undisputed evidence cited above, a public controversy has

existed over concerns about security vulnerabilities and foreign ownership of electronic voting

systems, as well as the controversies that have “dogged” Smartmatic from Caracas to Chicago and

from Miami to Manila,10 thus satisfying the first factor of the Waldbaum test.

                2.     Smartmatic has Played a Prominent Role in the Controversy.

         The second element of the Waldbaum test analyzes the plaintiff’s role in the controversy.

627 F.2d at 1297. A plaintiff’s participation must be more than merely “trivial or tangential.” Id.;

Tavoulareas, 817 F.2d at 773. Courts consider whether plaintiffs “have ‘thrust themselves to the

forefront’ of the controvers[y] so as to become factors in [its] ultimate resolution.” Waldbaum, 627

F.2d at 1297. But the plaintiff need not have acted with that intention (although Smartmatic did).

As the D.C. Circuit has explained, “[t]he plaintiff either may have been purposely trying to

influence the outcome or could realistically have been expected, because of his position in the

controversy, to have an impact on its resolution.” Id. (emphasis added). To perform this analysis,

courts review the “plaintiff’s past conduct, the extent of press coverage, and the public reaction to

his conduct and statements.” Id. The inquiry boils down to whether a plaintiff “engaged in


10
     Ex. O-92, APP2828.



                                                 12
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conduct” that they know will “markedly raise[] the chances” of becoming embroiled in a public

controversy. Clyburn, 903 F.2d at 33. Applying these standards, the evidence is undisputed and

overwhelming that Smartmatic has played a prominent role in the public controversy over the

security of electronic voting systems and the foreign ties of their owners.

                   a)   Smartmatic Invited Attention and Comment Through its Conduct.

         In assessing the plaintiff’s role in the controversy, courts look to whether the plaintiff has

chosen a “path[] of endeavor that ‘invite[s] attention and comment.’” OAO Alfa Bank, 387 F. Supp.

2d at 44 (quoting Tavoulareas, 817 F.2d at 773). Even if the plaintiff does not solicit media

attention (which here, Plaintiffs did), their choice to engage in activities that are of inherent public

interest or to conduct themselves controversially may reflect a desire to invite public attention.

Lohrenz, 223 F. Supp. 2d at 43 (plaintiff was “well-aware that her position as one of the first female

F-14 pilots would attract public attention.”); Clyburn, 903 F.2d at 33 (“[Plaintiff] engaged in

conduct that he knew markedly raised the chances that he would become embroiled in a public

controversy.”); Brueggemeyer v. American Broad. Cos., 684 F. Supp. 452, 458 (N.D. Tex. 1988)

(“The court rejects the assertion that [the plaintiff] cannot be a public figure because he did not, of

his own volition, undertake to become one. It is sufficient that [he] ‘voluntarily engaged in a course

that was bound to invite attention and comment.’”).

         Smartmatic’s existence as a provider of electronic voting systems was literally born of a

desire to participate in an endeavor it knew would invite attention and public comment. [Dkt. 1:

¶ 23]. As The New York Times reported, Smartmatic’s founders transformed their nascent

networked-devices company into an electronic voting company after watching the 2000 Florida

election controversy unfold.11 Years later, the company would candidly admit that elections are


11
     Ex. O-98, APP2849.



                                                  13
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controversial, which brings with it the spotlight of public attention.12 Smartmatic has echoed this

acknowledgement repeatedly in its internal communications.13

          Smartmatic’s background and activities have made it a particularly controversial player in

this inherently controversial arena. Even as its Venezuelan roots and continued work for the Hugo

Chavez and Nicolas Maduro governments became lightning rods for controversy in the United

States, Smartmatic sought to expand its U.S. presence by purchasing Sequoia Voting Systems

(“Sequoia”). Statement at ¶¶ 26-27. It then piqued that controversy by (according to the company’s

claims) requesting a CFIUS investigation of the transaction, then refusing to participate, only to

abruptly reverse course and decide to sell Sequoia in an apparent effort to stop the investigation.

Statement at ¶¶ 30-32. The sale engendered further controversy with one government official

questioning whether the transaction was a sham to avoid regulatory scrutiny. Statement at ¶ 43.

Several years later, Smartmatic voluntarily chose to reenter the U.S. market. It did so by bidding

on, and ultimately securing, a nearly $300 million public contract to manufacture and implement

a new voting system for Los Angeles County, the nation’s largest and most complex voting

jurisdiction. [Dkt. 1: ¶ 49]. Smartmatic did so with the knowledge that its prior history in the United

States, its ties to Venezuela, and its allegedly criminal actions in the Philippines would resurface

in public debate over the L.A. County project.14


12
     Ex. O-99, APP2852.
13
     See, e.g., Ex. O-100, APP2857.
14
      Smartmatic has also invited public attention and comment by bringing high-profile individuals
     into the company, including Lord Mark Malloch-Brown, former Chairman and Board Member,
     SGO Corporation and Smartmatic, its Elections division. Malloch-Brown is President of the
     Open Society Foundation, the frequently controversial philanthropic organization founded by
     George Soros. Ex. O-101, APP2861. See OAO Alfa Bank, 387 F. Supp. 2d at 46 (public figure
     plaintiffs increased their prominence by “associating closely and openly” with elite figures); see
     also Clyburn, 903 F.2d at 33 (one who “hobnob[s] with high officials” runs greater risk of
     becoming public figure). Despite Smartmatic’s more recent attempts to publicly deny any


                                                   14
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                  b) Smartmatic has Been the Subject of Widespread News Coverage.

       Of course, Smartmatic’s actions did attract controversy. As recounted above, Smartmatic

has been the subject of congressional hearings, federal regulatory and law enforcement

investigations in the United States, diplomatic warnings, a criminal investigation in the Philippines

(and a current one in the United States), and widespread criticism by electronic voting experts on

precisely the issues that define this public controversy: security vulnerabilities and owners’ foreign

ties. Statement at ¶¶ 8-81, 146-148. Indeed, it is difficult to identify any other electronic voting

company that has attracted so much public and government scrutiny on these issues.

       Predictably, Smartmatic has also attracted “widespread news coverage.” OAO Alfa Bank,

387 F. Supp. 2d at 45 (citing Waldbaum, 627 F.2d at 1297). This includes extensive coverage by

major news outlets such as The New York Times, The Wall Street Journal, The Miami Herald,

Politico, the BBC, and WIRED, along with various local news outlets. See, e.g., Exs. O-47, O-66-

O-68, O-98, O-119, O-120. The articles, broadcasts, and other publications cited above are just a

small fraction of the media attention. A search on December 9, 2023 of an online news database

for English language news revealed more than 10,000 articles since 2000 that mention the name

“Smartmatic,” and more than 880 articles that include the name “Antonio Mugica” (Smartmatic’s

Chief Executive Officer). A search that confined the scope to U.S. publications revealed over 9,800

articles since 2001 that contain the term “Smartmatic,” and over 980 pages of results. Similarly, a

search that confined the scope to U.S. publications for the name “Antonio Mugica” revealed over




 association with Soros, internal corporate documents confirm that Malloch-Brown – as
 Chairman of SGO Corporation Limited and coordinating with Soros at the same time on election
 and political matters – and others at Smartmatic repeatedly leveraged Soros’s reputation, behind-
 the-scenes support, and connections when it suited their business aims. Statement at ¶¶ 136-145.
 See also Exs. O-102, O-103.



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740 articles since 2001 and 75 pages of results.15 By comparison, in OAO Alfa Bank, the Court

relied on similar evidence of 1,100 articles mentioning the plaintiffs, who were determined to be

public figures. Id. at 28; see also Ellis v. Time, Inc., No. Civ. A. 94–1755 (NHJ), 1997 WL 863267,

at *6 (D.D.C. 1997) (plaintiff was limited public figure where he was the subject of five articles

in newspapers ranging from The Washington Post to a Russian newspaper); Bell v. Associated

Press, 584 F. Supp. 128, 131 (D.D.C. 1984) (plaintiff was limited public figure where “over one

hundred newspaper articles have appeared concerning his various activities during the course of

plaintiff’s career”).

                 c) Smartmatic has Access to Media and Communications Channels.

          The third guidepost this Court considers is whether the plaintiff has “‘access to the channels

of effective communication’ that enable them to respond to any defamatory statements and

influence the course of the public debate.” OAO Alfa Bank, 387 F. Supp. 2d at 46 (quoting Gertz,

418 U.S. at 344). There is no doubt that Smartmatic — a company that bills itself as “the world

leader” in a multibillion-dollar industry, maintains a robust communications department, and

employs outside public relations firms to facilitate its ability shape public debate — enjoys such

access. Proof of this access is found in the numerous news articles and other publications in which

Smartmatic and its leaders have been quoted, ranging from Chief Executive Officer Antonio

Mugica’s Caracas-based interview with The New York Times in the early days of the company,16

to media reports specifically concerning the 2020 election-related allegations.17 See, e.g., OAO




15
     Ex. O, ¶ 154, APP2083.
16
     Ex. O-98.
17
     Ex. O-116, APP2927 (published on Election Day, quoting Smartmatic regarding its alleged
     connection to Soros and linking to Smartmatic’s website); Ex. O-115, APP2925 (published Nov.


                                                   16
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Alfa Bank, 387 F. Supp. 2d at 45-46 (citing plaintiffs’ commentary “in newspapers and other media

outlets throughout the world”); see also Tavoulareas, 817 F.2d at 774 (plaintiff maintained access

to press through his company’s public-relations apparatus); Foretich, 765 F. Supp. at 1108 (public

figure plaintiff had given statements to press and sat for media interview).

          Proof is also found in Smartmatic’s own documents, including documents received from

one of its several public relations firms in 2019, which show that Smartmatic maintained a list of

media contacts and reached out to reporters to share news and arrange for meetings.18 In addition

to these direct outreaches to the press, Smartmatic took less transparent steps to inject itself into

and shape the debate surrounding the company specifically and the integrity of electronic voting

more broadly. As described above, it engaged in a protracted campaign to launder its Wikipedia

page by secretly procuring the creation of media content that positively portrayed Smartmatic and

by taking various actions (including litigation) to remove critical content.19 It also worked to

engage with academics, legislators, lobbyists, think tanks, and others to promote awareness,

thought leadership, and create its own news20 In addition, Smartmatic has made “effort[s] to

increase awareness on the benefits of voting technologies, and the importance of well-run elections

in the advancement of societies.”21




     17, 2020 and linking to Smartmatic website responding to allegations by President Trump’s legal
     team).
18
     Ex. O-82, APP2691-92.
19
     Ex. O-104, O-105. Smartmatic also leveraged Board member Peter Neffenger’s connections and
     position on the Biden transition team to pressure Google to change its policy on censorship of
     conservative media, including OAN. Ex. O-35, APP2292-93.
20
     Ex. O-82, APP2691-706.
21
     Ex. O-106, APP2880.



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       In sum, Smartmatic repeatedly stepped into the spotlight of this public controversy in

numerous ways. Having injected itself into this public controversy, it established a special

prominence in the controversy and thus “must take the bad with the good.” Waldbaum, 627 F.2d

at 1295.

       D.      The Statements Challenged by Smartmatic are Germane to the Public
               Controversy over the Security and Foreign Ownership of Electronic Voting
               Systems.

       The final prong of the Waldbaum test requires that the alleged defamation be “germane”

to the plaintiff’s participation in the controversy. 627 F.2d. at 1298. The germaneness test “ensures

that publishers cannot use an individual’s prominence in one area of public life to justify publishing

negligent falsehoods about an unrelated aspect of the plaintiff’s life.” Jankovic, 822 F.3d at 589.

The standard for determining germaneness is low. The test is satisfied as long as the subject of the

alleged defamation is not “wholly unrelated” to the controversy. Tavoulareas, 817 F.2d at 774;

Waldbaum, 627 F.2d. at 1298.

       Smartmatic’s complaint makes clear that the specific statements on which it bases its

defamation claim relate directly to the broader public controversy over the security and foreign

ownership of electronic voting systems. Many of the alleged defamatory statements expressly

invoke Smartmatic’s Venezuelan roots and the use of its machines and software in foreign

elections. See e.g., [Dkt. 1: ¶¶ 85; 95; 99; 101; 106; 111; 118; 122; 123; 125; 127; 129; 130; 131;

136]. Smartmatic also repeatedly complains that OAN’s reporting covered security concerns that

Smartmatic believes to have been unfounded. Id. ¶¶ 4; 85; 104; 127; 128; 130; 171; 180; 184; 205;

218; 227. Indeed, many of the challenged statements are virtually indistinguishable from the

testimony and other statements of Rep. Maloney, computer scientists, and others who raised

concerns that Smartmatic’s and other companies’ technology was plagued with security

weaknesses that left elections vulnerable to manipulation of the vote. See, e.g., id. ¶ 127 (Tom


                                                 18
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Fitton: “We’re hearing witness after witness highlight the security weaknesses of these systems.”).

Based on the close connection between the broader public controversy and the specific statements

that form the basis of Smartmatic’s defamation claim, there can be no doubt that Waldbaum’s

germaneness requirement is “abundantly satisfied.” 817 F.2d at 774.

       E.      Smartmatic’s Role as a Government Contractor Responsible for Providing
               Election Infrastructure and Helping Administer Elections Renders It a Public
               Official.

       Smartmatic is required to prove actual malice for the additional reason that it is a “public

official.” Sullivan, 376 U.S. at 279-80. This designation applies “at the very least” to “government

employees who have, or appear to the public to have, substantial responsibility for or control over

the conduct of governmental affairs.” Rosenblatt v. Baer, 383 U.S. 75, 85 (1966). But it is not

limited to the government itself. It can also apply to government contractors and others with

“substantial responsibility — actual or apparent — for the administration of government matters.”

Baumback, 161 F.3d at *3; Jenoff v. Hearst Corp., 644 F.2d 1004, 1006 (4th Cir. 1981) (“It is

conceivable that an individual holding no formal public position, and standing in no employment

or even contractual relationship with government, nevertheless may participate in some

governmental enterprise to such an extent that the policies underlying New York Times Co. v.

Sullivan . . . would demand that he or she be classified a public official.”); Arctic Co., Ltd. v.

Loudon Times Mirror, 624 F.2d 518, 522 (4th Cir. 1980) (“There well may be circumstances in

which a consultant employed by a government entity could be classified as a public official.”).

       Applying this test, the Eastern District of Virginia held that a scientist working for an

important government contractor was a “public official” for purposes of his defamation claim

against The New York Times even though he did not hold government office. Hatfill v. New York

Times Co., 488 F. Supp. 2d 522, 528 (E.D. Va. 2007). The court noted that the plaintiff qualified

as a public official both in fact and appearance because he “perform[ed] governmental functions


                                                19
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as a contractor with the government, sharing his expertise in the field of biological warfare, and as

a participant at [Louisiana State University] in a government-funded program dealing with

biological weaponry and training of other government officials and special forces.” Id. The court

also relied on the plaintiff’s receipt of “federal funds to work on national defense programs that he

himself described as being of ‘national importance.’” Id. Further, the court noted that the “public

had an independent interest in Plaintiff’s qualifications and performance given the highly sensitive

nature of his work and its importance to national defense. His responsibilities and close connection

with the federal government rendered him a public official.” Id.

         The same analysis applies to Smartmatic. It is impossible to imagine a more important

government function in a democracy than the administration of elections. By its own admission,

Smartmatic has played a significant role in elections, including the 2020 presidential election. As

Smartmatic’s own Complaint notes, the company partnered with Los Angeles County to spearhead

its Voting Solutions for all People (“VSAP”) initiative. [Dkt. 1: ¶¶ 49-60]. According to the

government’s press release, Smartmatic’s responsibilities as the initiative’s “Prime Contractor and

Operator” were substantial:

                Smartmatic USA will assist the Registrar-Recorder/County Clerk
                (RR/CC) in manufacturing and implementing components of a new
                voting experience for Los Angeles County scheduled for
                introduction in the March 2020 California Presidential Primary
                election.

                                                ***

                Smartmatic USA and its team will be responsible for systems
                integration, engineering and manufacturing of the system
                components that were designed by and for Los Angeles County
                voters with a focus on security, accessibility and usability.22



22
     Ex. O-107, APP2883.



                                                 20
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According to Smartmatic’s own description, its role in the 2020 election included providing the

following technology and services to Los Angeles County:

                 engineering and manufacturing voting machines;

                 programming and installing the software for the machines;

                 leading the California certification process;

                 creating the backend software and managing the machines;

                 building the VSAP operations center;

                 handling logistics and setup/breakdown of the vote centers;

                 overseeing real-time data management for deployment; and

                 supplying Help Desk services on Election Day.

[Dkt. 1: ¶ 55].

         For its role in this major government initiative, Smartmatic was paid nearly $300 million

in taxpayer funds.23 The size of the payment reflects the significance of the work. Though Los

Angeles County may be just one county, (as Smartmatic notes) it has outsized significance. With

more than 5.4 million registered voters, it “is the nation’s most populous voting jurisdiction.” [Dkt.

1: ¶ 49]. As The Los Angeles Times noted last year, the county’s population exceeds that of 40

states.24

         Smartmatic also appeared to be performing government functions in connection with the

election in Los Angeles County. The VSAP contract, which is publicly available, provided that

Smartmatic staff members were required to wear County-approved identification badges.25 The



23
     Ex. O-108, APP2887.
24
     Ex. O-109, APP2892.
25
     Ex. O-108, APP2888-89.



                                                   21
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County’s public relations team was instructed to ensure that “the county is seen as owning” the

Smartmatic system, with Smartmatic as the County’s “implementation partner.”26 Smartmatic was

publicly touted as a “proud partner of LA County” and its voting machines bore L.A. County logos

and held signs directing voters to LAVote.net, a government website.27 Indeed, Smartmatic’s role

was so pervasive that even Smartmatic cannot separate itself from its government client.

Smartmatic’s complaint touts the company’s success in the election by citing a poll of voters who

were asked about how well “LA County implemented new voting technology.” Id. ¶ 56 (emphasis

added). Of course, Smartmatic cannot claim the government’s success (in the eyes of voters) as its

own success without implicitly acknowledging that the company was largely responsible for

performing functions that the public assumed to be governmental.28

          Based on this undisputed evidence, Smartmatic is an example of a private contractor that

performs such significant governmental functions that it must be considered a “public official”

under Hatfill, Rosenblatt, and the other authority cited above. This classification provides yet

another, independent basis for the Court to hold Smartmatic to an actual malice burden on its

defamation claim.

          F.      The Court Should Grant Summary Judgment Because No Dispute as to Any
                  Material Fact Exists and Defendant is Entitled to Judgment on the Issues of
                  Actual Malice as a Matter of Law.

          Summary judgment procedure is properly regarded not as a disfavored procedural shortcut,

but rather as an integral part of the Federal Rules as a whole, which are designed “to secure the


26
     Ex. O-110, APP2903.
27
     Ex. O-119.
28
      Smartmatic has continued to perform these governmental functions. By the end of 2022,
     Smartmatic had assisted Los Angeles County in “more than half a dozen elections since the
     system debuted in 2020.” Id.



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just, speedy and inexpensive determination of every action.” Fed. Rule Civ. Proc. 1; Celotex Corp.

v. Catrett, 477 U.S. 317, 327 (1986). Under Federal Rule Civil Procedure 56(a), “[a] party may

move for summary judgment, identifying each claim or defense--or the part of each claim or

defense—on which summary judgment is sought. The court shall grant summary judgment if the

movant shows that there is no genuine issue as to any material fact and the movant is entitled to

summary judgment as a matter of law.” Although the Court views the evidence in a light favorable

to the non-moving party, “the mere existence of some alleged factual dispute between the parties

will not defeat an otherwise properly supported motion for summary judgment”; there must be no

genuine issue of material fact.” Anderson v. Liberty Lobby Inc., 477 U.S. 242, 247-48 (1986); see

also Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574 (1986).

          Here, Plaintiffs carry the burden of proof at trial, so OAN may obtain summary judgment

simply by establishing that no genuine issue of material fact exists as to an essential element of

Plaintiffs’ claim or an affirmative defense. Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986).

OAN does not need to “support its motion with affidavits or other similar material negating the

opponent’s claim.” Id. at 323. Rather, OAN’s burden may be discharged by “showing” — that is,

pointing out to the district court—that there is an absence of evidence to support the nonmoving

party’s case. Id. at 325.

          The concerns embodied in Rule 56(a) are especially present in defamation cases such as

this, where forcing defendants to incur unnecessary costs defending ultimately meritless claims

can chill speech.29 Thus, in libel cases particularly because of their potential chilling effect on

speech about important issues to our democracy (such as concerns of election irregularities in a


29
     Washington Post Co. v. Keogh, 365 F.2d 965, 968 (D.C. Cir. 1966); McBride v. Merrell Dow &
     Pharms, Inc., 717 F.2d 1460, 1467 (D.C. Cir. 1983)(“District of Columbia law…endorses the
     use, where possible, of summary procedures in handling libel actions.”).



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Presidential election), courts routinely grant motions for summary judgment on libel and related

claims on the grounds set forth in this motion and appellate courts routinely affirm and even reverse

for failure to grant summary judgment.30

          G.     As a Matter of Law, Plaintiffs Do Not, and Cannot, Provide by Clear and
                 Convincing Evidence that Defendant Acted With Actual Malice.

          The Complaint alleges OAN acted with actual malice in making the Complained of

Publications, and they further, allege actual malice in connection with their punitive damage claim,

a necessary element of their claim. [Dkt. 1: ¶¶ 121-180, 192, 195]. Since Plaintiffs seek an award

of punitive damages, the parties must focus on the question of actual malice, even if, assuming

arguendo, Plaintiffs are found by the Court not to be public figures.

          Even though more than two years have passed since this lawsuit was filed on November 3,

2021, and the Court’s Scheduling of October 2022 setting the discovery deadline at December 8,

2023, has expired, Plaintiffs have no evidence of “actual malice.” Frankly, it is OAN that has been

hurt by Plaintiffs’ approach to discovery, where they have ignored noticed depositions without

even asking the court for relief, failed to wait (when they did ask) for a ruling, and successfully

moved for a stay of all remaining depositions noticed by OAN but for one third party deposition

(of former Smartmatic/Sequoia President Jack Blaine). Plaintiffs’ strategy, however, does not

thwart OAN’s ability to move for summary judgment on actual malice as OAN does not need to

support its motion with evidence negating Plaintiffs’ claims, although Defendant might have been

in a stronger position had OAN been able to question Plaintiffs’ executives and other witnesses.

See Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). Rather, OAN meets its burden by


30
     See Montgomery v. Risen, 197 F. Supp. 3d 219, 259 (D.D.C. 2016) aff’d 875 F.3d 709 (D.C. Cir.
     2017); McFarlane v. Sheridan Square Press Inc., 91 F.3d 1501, 1508 (D.C. Cir. 1996); Jankovic
     v. Int’l Crisis Group, 822 F.3d 576, (D.C. Cir. 2016); and Lohrenz v. Donnelly, 350 F.3d 1272
     (D.D.Cir. 2003); McFarlane v. Esquire, 74 F.3d 1296 (D.C. Cir. 1996).



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demonstrating “an absence of evidence”; that is, an absence of actual malice to support Plaintiffs’

case. Id. at 325.

        “The standard of actual malice is a daunting one,” McFarlane v. Esquire Magazine, 74

F.3d 1296, 1308 (D.C. Cir. 1996) (“McFarlane I”), “and quite purposefully so.” Biro v. Conde

Nast, 963 F. Supp. 2d 255, 277 (S.D.N.Y. 2013), aff’d, 807 F.3d 541 (2nd Cir. 2015); accord

Anderson, 477 U.S. at 255-57; Gertz, 418 U.S. at 342. Actual malice gives “breathing space” to

journalists and publishers reporting on matters of public concern even where, although not present

here, “erroneous statement is inevitable.” New York Times Co. v. Sullivan, 376 U.S. 254, 271-72

(1964). The proper inquiry focuses on what the defendant knew about the veracity of the

statements, not the defendant’s motivation, and “only those false statements made with a high

degree of awareness of their probable falsity … may be the subject of civil … sanctions.” Garrison

v. Louisiana, 379 U.S. 64, 74 (1964). “For speech concerning public affairs is more than self-

expression; it is the essence of self-government. The First and Fourteenth Amendments embody

our ‘profound national commitment to the principle that debate on public issues should be

uninhibited, robust, and wide-open, and that it may well include vehement, caustic, and sometimes

unpleasantly sharp attacks on government and public officials.’” Id. at 74-75 (quoting New York

Times Co. v. Sullivan, 376 U.S. at 270). As a result, “[t]he ‘serious doubt standard’ requires a

showing of subjective doubts by the defendant. It does not turn on whether a reasonably prudent

person would have published under the circumstances.” McFarlane v. Sheridan Sq. Press, Inc., 91

F.3d 1501, 1509 (D.C. Cir. 1996) (“McFarlane II”) (quoting Tavoulareas, 817 F.2d at 789). “‘For

[the actual malice] standard to be met, the publisher must come close to willfully blinding itself to

the falsity of the utterance.” Tavoulareas, 817 F.3d at 776. Plaintiffs must prove actual malice by




                                                 25
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clear and convincing evidence; a preponderance of evidence will not suffice. Masson v. New

Yorker Magazine, Inc., 501 U.S. 496, 510 (1991).

                  1.     Prior Public Controversies Regarding Plaintiffs and Resulting Media
                         Coverage, Congressional Inquiry and Government Inquiry and Action.

           Bi-partisan concerns about the security of US voting machines and software systems were

in the news for more than a decade preceding the 2020 Election. 31 Over the last two decades, the

election technology industry has become highly concentrated, with a handful of consolidated

vendors controlling the vast majority of the market. In the early 2000s, almost twenty vendors

competed in the election technology market.32 Today, three large vendors — Election Systems &

Software, Dominion, and Hart InterCivic — collectively provide voting machines and software

that facilitate voting for over 90% of all eligible voters in the United States.33 Private equity firms

reportedly own or control each of these vendors, with very limited “information available in the

public domain about their operations and financial performance.”34 While experts estimate that the

total revenue for election technology vendors is about $300 million, there is no publicly available

information on how much those vendors dedicate to research and development, maintenance of

voting systems, or profits and executive compensation.35 Indeed, in the year leading up to the

Election and in the months and years since, there has been a literal fire storm of media coverage,

congressional hearings, state and federal investigations into the security of the Election, the voting




31
     Ex. O-21.
32
     Ex. O-117.
33
     Id., APP2954.
34
     Id., APP2939.
35
     Id.



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machines, software and vote tabulations. We are coming up on the eve of the next Presidential

election and the fire has not yet died out.

          As set forth below, OAN, like many, if not most, other news organizations, relied on other

media coverage, press conferences, statements from President Trumps’ legal team and advisors

and reports from hearings and court filings in producing its news broadcasts and programming

which are the subject of this litigation. See Exs. B, C, E-M.

                 2.      Bias, Questionable Sources, Lack of Investigation and Corroboration
                         Do Not Suffice to Show Actual Malice.

          Plaintiffs allege OAN did not have any sources with first-hand knowledge to support the

Complained of Publications and purposefully avoided the truth. [Dkt. 1: ¶¶ 122-123]. Plaintiffs

also allege that OAN had obvious reasons to doubt its guests and their veracity yet had them on

the shows anyway. [Dkt. 1: ¶¶ 157-158]. They contend that the guests did not provide OAN with

any documentation to support their allegations and, further, that OAN did not independently

corroborate the statements but instead published them without evidence to support them. [Dkt. 1:

¶ 158).

          In sum, Plaintiffs seek to impose a duty to investigate, an argument that the D.C. Circuit

has previously rejected as a “non-starter.” See Jankovic v. Int’l Crisis Group, 822 F.3d 576, 590

(D.C. Cir. 2016); see McFarlane II, 91 F.3d at 1510. Only if “a defendant has reason to doubt the

veracity of its source” is its “failure to examine evidence within easy reach or to make obvious

contacts” evidence of reckless disregard. Jankovic, 822 F.3d at 594. “Even where doubt-inducing

evidence could be discovered, a publisher may still opt not to seek out such evidence and may rely

on an informed source, so long as there is no ‘obvious reason to doubt’ that source.” Id.; Lohrenz,

350 F.3d at 1285.




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       Assuming arguendo without admitting that OAN’s sources had a pre-conceived storyline

and bias about Smartmatic, that is not “antithetical to the truthful presentation of facts.” Jankovic,

822 F.3d at 597; Tavoulareas, 817 F.2d at 795. “The fact that a commentary is one sided and sets

forth categorical accusations has no tendency to prove that the publisher believed it to be false.”

Westmoreland v. CBS, Inc., 601 F. Supp. 66, 68 (S.D.N.Y. 1984); McFarlane I, 74 F.3d at 1307.

In other words, that a defendant acted on the basis of a biased source and incomplete information

does not “demonstrate with clear and convincing evidence that the defendant[s] realized that [their]

statement was false or that [they] subjectively entertained serious doubts as to the truth of [their]

statement[s].” Lohrenz v. Donnelley, 350 F.3d 1272, 1284 (D.C. Cir. 2003) (evidence that the

publishers of the alleged defamatory statements were on a mission to reinstate the ban against

women being assigned to combat positions in the military did not suffice to show actual malice);

see also Jankovic, 822 F.3d at 594 (finding no actual malice where sources were Serbian press

outfits known to be “sensationalists bordering on libel” and others were “notorious for spreading

rumors and outright lies,” and author had reason to be “wary” of the press reports, but “he also had

some reason to believe the story, based upon his own research and his conversations with

journalists and experts on Balkan affairs.”); McFarlane II, 91 F.3d 1501 at 1508.

       In McFarlane II, for example, Sheridan Square Press, the publisher, conceded that it

published the alleged defamatory Profits of War without having any independent verification of

the allegations about McFarlane: it did not uncover any affirmative evidence that McFarlane was

indeed an Israeli spy or that he played a role in the alleged arms-for hostages scheme. 91 F.3d. at

1508-09. The D.C. Circuit rejected McFarlane’s contention that a publisher has a “duty to

corroborate” when the source of potentially libelous material is of questionable credibility. Id. at

1510. Although the author relied for the most part on secondary sources, the Court held “there is




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no authority for the proposition that anything short of interviewing those with first-hand

knowledge amounts to ‘willful blindness.’” Id. The Court continued, “[t]o hold that a publisher

who relies upon a questionable source must not only investigate the allegations but actually

corroborate them – that is establish through an independent source that the allegations are true –

would be to turn the inquiry away from the publisher’s state of mind and to inquire instead whether

the publisher satisfied an objective standard of care.” Id. at 1509; see Washington Post Co. v.

Keogh, 365 F.2d 965, 972 (D.C. Cir. 1966) (discussing difficulties with proposed rule requiring

newspapers to verify controversial allegations, stating: “There simply is no convincing, realistic

basis for the position that newspapers in circumstances similar to the Post’s should bear greater

responsibilities of verification than the Supreme Court required of the New York Times, where

information available from published articles in the Times’ own files ‘demonstrated the falsity of

the allegations.’”) (quoting New York Times Co. v. Sullivan, supra, 376 U.S. at 263, 84 S.Ct. at

717).

        The Court in McFarlane II also rejected the argument that the publisher of the article acted

with reckless disregard by deciding to go ahead with the publication after having attempted but

failing to corroborate the allegations. McFarlane II, 91 F.3d at 1510. Finding “there is no authority

for the proposition that anything short of interviewing those with first-hand knowledge amounts

to “willful blindness,” the Court continued, “[o]n the contrary, we have held that a publisher’s

good faith reliance on previously published reports in reputable sources. . . precludes a finding of

actual malice as a matter of law.” Id. at 1510; (internal quotation omitted); Liberty Lobby, Inc. v.

Dow Jones & Co., 838 F.2d 1287, 1297 (D.C. Cir. 1988) (“We think The Wall Street Journal’s

good faith reliance on previously published reports in reputable sources of Liberty Lobby’s

connections with Noontide and Western Destiny precludes a finding of actual malice as a matter




                                                 29
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of law.” (citing Rosanova v. Playboy Enters., Inc., 580 F.2d 859, 862 (5th Cir. 1978) (“The

subjective awareness of probable falsity required by [St. Amant] cannot be found where, as here,

the publisher’s allegations are supported by a multitude of previous reports upon which the

publisher reasonably relied.”))). Simply put, the D.C. Circuit has held that a publisher has no duty

to corroborate its allegations. See McFarlane II, 91 F.3d at 1508.

       Here, the OAN declarations submitted in the Appendix substantiate the reliable sources

underlying the subject broadcasts and other publications. Those sources and guests included the

then-current President’s lawyers and representatives, Rudy Giuliani, Sidney Powell, Joseph

diGenova, prominent commentators and subject matter experts in government affairs and

elections, U.S. Congress members, attorneys, and military veterans. The OAN hosts, anchors and

journalists connected to the programming each attest that they did not believe or have reason to

believe or have serious doubt as to the truth of the statements. See Exs. B, C, E-M.

               3.      Improbability of Defamatory Allegations Do Not Support Actual
                       Malice.

       While Plaintiffs claim the alleged storyline about Smartmatic was “fabricated,” the subject

matter of that “fabricated storyline,” that is, wide spread concern over the possibility of election

fraud, spawned litigation across the United States (including in Michigan, Arizona, Pennsylvania,

Georgia, Nevada, and Wisconsin), Congressional hearings. and were the subject of national debate

and continued dialogue. Consequently, the allegations, which did not emanate from OAN but were

from other reliable sources, were taken seriously enough by many government officials to

investigate and, therefore, can hardly be fairly characterized as “fabricated.” Any inherent

improbability of the allegation does not itself support a finding of actual malice. See McFarlane

II, 91 F.3d at 1513.




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                  4.     Reliance on Reputable Sources.

          It cannot be gainsaid: OAN relied on reliable news sources that predate the alleged

defamations. A publisher’s “good faith reliance on previously published reports in reputable

sources . . . precludes a finding of actual malice as a matter of law.” Liberty Lobby, Inc. v. Dow

Jones & Co., 838 F.2d 1287, 1297 (D.C. Cir. 1988). In Montgomery v. Risen, 197 F. Supp. 3d 219,

226 (D.D.C. 2016), aff’d 875 F.3d 709 (D.C. Cir. 2017), the defendants pointed to an abundance

of evidence tending to show that the author and publisher neither knew nor had reason to suspect

that the alleged defamatory publication was false. Montgomery, 197 F. Supp. 3d at 260. The district

court noted that “[o]f most relevance” was the “plethora” of other news articles and other evidence,

pre-dating the allegedly defamatory publication, which aligned with and corroborated its general

thrust that the plaintiff’s technology did not work as billed. Id. And in considering the issue of

actual malice, it noted that of most relevance was “an abundance of evidence” in the record, pre-

dating the alleged defamatory publication, which aligned with and corroborated the publication’s

general thrust.

          Here, because OAN36 expressly relied on previously published articles in reputable

publications and news outlets (including but not limited to the Washington Examiner, New York

Times, European News Daily, Philippines based ABS-CBN, and Fox News among others),

statements of sitting Congresswomen Amy Klobuchar and Senator Elizabeth Warren, and legal

advisors to President Trump’s Campaign including Harmeet Dillon (attorney and co-chair of

Republican National Lawyers Association), Rudy Giuliani, Sidney Powell, Joseph diGenova,



36
      The Complaint notes that its allegations that discuss how “OANN” acted with actual malice
     should be read and understood to include its anchors, hosts and producers of the shows at issue.
     [Dkt. 1: ¶ 121, n. 9]. The declarations of the anchors, hosts and producers of the shows at issue
     (hereafter “Declarants”) are attached to the Appendix hereto as Exs. B, C, E-M.



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among others, and other reliable sources, together with declarations that they neither knew or

believed any of the Complained of Publications to be false or entertained serious doubt as to their

truth, Plaintiffs cannot meet the “daunting standard” of showing actual malice. McFarlane I, 74

F.3d at 1308.

        For example, a November 9, 2020 article in the Washington Examiner titled, “Officials

raised concerns for years about security of US voting machines, software systems,” was a source

for the November 12, 2020 After Hours with Alex Salvi. [Dkt. 1: ¶¶ 32-33; Ex. H]. That article

states, in part:

                   Dominion “got into trouble” with several subsidiaries it used of
                   alleged cases of fraud. One subsidiary is Smartmatic, a company
                   “that has played a significant role in the U.S. Market over the last
                   decade,” according to a report published by UK based Accesswire.

                   Litigation over Smartmatic ‘glitches ‘ alleges they impacted the
                   2010 and 2013 mid-term elections in the Philippines, raising
                   questions of cheating and fraud. An independent review of the
                   source code used in the machines found multiple problems, which
                   concluded, ‘The software inventory provided by Smartmatic is
                   inadequate,…which brings into question the software credibility.’
                   ABS-CBN reported.

                   …The company’s reported global ties have caused members of the
                   media and government officials to raise questions about its
                   involvement in the U.S. electoral process.

See Ex. O-21, APP2208.

        Of course, a necessary predicate to “actual malice” is that for each Complained of

Publication, there must be a false statement of fact as opposed to opinion, rhetoric or hyperbole.

See Weyrich v. New Republic, Inc., 235 F.3d 617, 624 (D.C. Cir. 2001) (for a statement to be

actionable under the First Amendment, it must at a minimum express or imply a verifiably false

fact; however “a statement of opinion relating to matters of public concern which does not contain

a provably false factual connotation will receive full constitutional protection.”). Further,



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defamatory meaning must be measured by the reasonable viewer or reader. See Moldea v. New

York Times Co., 15 F.3d 1137, 1142 (D.C. Cir. 1994), modified, 22 F.3d 310 (D.C. Cir. 1994) (the

defamatory meaning inquiry focuses only on whether a reasonable reader could understand a

statement as tending to injure a plaintiff’s reputation); see also Farah v. Esquire Magazine, 736

F.3d 528, 537 (D.C. Cir. 2013) (the test is not whether some actual readers were misled, but

whether the hypothetical reasonable reader could be after time for reflection). In assessing

defamatory meaning, the publication must be taken as a whole and in the proper context. Farah,

736 F.3d at 535; see also Afro–American Publ'g Co. v. Jaffe, 366 F.2d 649, 655 (D.C. Cir. 1966)

(en banc ) (the “publication must be taken as a whole, and in the sense in which it would be

understood by the readers to whom it was addressed”); Weyrich, 235 F.3d at 625 (“[T]he First

Amendment demands” that the court assess the disputed statements “in their proper context”).

       The first challenged publication (After Hours With Alex Salvi (“Salvi”) on November 12,

2020) provides a ready of example of Plaintiffs’ overreach. Salvi testifies that he did not believe

that anything he published that night was false nor that he entertained any serious doubt about the

truth. Indeed, his broadcast starts with a discussion of Dominion and quotes the New York Times

(and displays a portion of the newspaper graphically on air) reporting that the company is at the

center of “baseless claims” regarding software glitches. He then cites a Princeton University

professor who, Salvi says, “has been raising alarms about Dominion Voting Systems for years.”

He then reports that Smartmatic (which he incorrectly refers to as a Dominion subsidiary although

as we see internal corporate documents detailed in the Statement at ¶¶ 50-57, the two companies

are significantly intertwined, particularly with regard to the legacy machines and software used in

the 2020 Election) was used for the Philippine elections back in 2010 and 2013. This is not only

true but Plaintiffs plead it is accurate. [Dkt. 1: ¶¶ 34, 37]. He then reports (relying on the




                                                33
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Washington Examiner) that there were questions raised about cheating and fraud in those elections,

undeniably true as the evidence shows. See Statement ¶¶ 70-71.

          Salvi concludes by saying “Now to be clear, at this point, we don’t have any independent

evidence that any additional votes have been affected by these voting systems or that the results

were tainted in any way by large scale voter fraud. But that doesn’t mean that people should be

shamed for asking, because it’s not out of the realm of possibility.” Ex. A-1, APP16. Truer words

… And it’s a long way from a false statement of defamatory fact and not even close to actual

malice.

          Each of the OAN declarants also assert that they relied on a number of additional articles,

in connection with their respective programs (which they attach) as well as various sources which

we discuss. Exs. B, C, E-M. Each of those articles make similar factual claims to the broadcasts

and statements that are the subject of the Complaint. See Montgomery, 197 F. Supp. 3d at 260.

          The OAN declarants also state that they relied on statements made by the President’s

lawyers, Powell, Giuliani, diGenova (OAN’s Ms. Hamill introduced diGenova as “a part of

President Trump’s legal team, a lawyer, political commentator and former U.S. Attorney for the

District of Columbia) (In Focus, Stephanie Hamill, November 20, 2020, Dkt. 1: ¶¶ 49-50), and

these statements were from persons considered reputable and reliable,37 and often these individuals

were guests on the broadcasts. These contentions largely corroborated the factual assertions made

in media reports. Moreover, they were further substantiated by the statements of other sources.

          Plaintiffs complain that OAN informed its viewers that Giuliani, Powell, and other guests

were lawyers to create the impression that they were reliable sources of facts by bolstering their

credibility, sharing their background and experience as lawyers and that as lawyers, Giuliani,


37
     See Statement ¶¶ 110-135.


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Powell, and diGenova were barred by the ethical codes of conduct from lying and bolstered their

credibility sharing their backgrounds and experience as lawyers. [Dkt. 1: ¶¶ 83, 85-86]. Indeed, at

the time of the Complained of Publications, especially those by Giuliani, Powell and diGenova,

those very same credentials were reason enough for OAN to find them credible and reliable.38

                  5.     The Lindell Programming.

          My Pillow contracted with OAN to air four programs (Absolute Proof (February 11, 2021);

Scientific Proof (April 3, 2021); Absolute Interference (April 22, 2021); and Absolutely 9-0 (June

5, 2021) (referred to herein as the “Lindell Programming”) relating to the 2020 Election and

ongoing concerns regarding alleged voting irregularities with the voting systems used in the

election. Lindell was the sole author and executive producer of the program and was solely and

exclusively responsible for its content. Ex. I, ¶7, APP1157. OAN had no involvement in the

production, writing or editing of any of the Lindell Programming. Ex. I, ¶8, APP1157. As such,

OAN cannot be held liable for the actual malice, if any, of Lindell in the Lindell Programming.

See McFarlane I, 74 F.3d at 1303 (“[U]nder the New York Times standard, and our own analysis

leads us to conclude that under New York Times actual malice may not be attributed outside

respondeat superior.”); Chaiken v. Village Voice Publishing Corp., 119 F.3d 1018, 1033-34 (2nd

Cir. 1997) (finding a newspaper publisher was not vicariously liable for the actual malice of an

independent contractor); D.A.R.E Am. v. Rolling Stone Magazine, 101 F. Supp. 2d 1270, 1278–80


38
      Giuliani’s suspension from the practice of law by the New York State Bar on June 24, 2021, and
     Powell’s sanctioning by the U.S. District Court in Michigan on August 25, 2021, are of no
     moment insofar as their reliability as sources is concerned with respect to the subject shows and
     statements at issue because they postdate the Complained of Publications. Indeed, the New York
     bar cited an attorney’s credibility as a basis for suspension of the former mayor’s law license.
     Ex. O-29, APP2266-67. The pertinent dates are the date of the Complained of Publications. St.
     Amant v. Thompson, 390 U.S. 727, 731 (1968). Moreover, even if sources are questionable, the
     pertinent issue is whether the declarant had reason to seriously doubt or question the truth at
     issue. Id.



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(C.D. Cal. 2000) (finding a magazine publisher was not vicariously liable for the actual malice of

an independent contractor); Hunt v. Liberty Lobby, 720 F.2d 631, 649 (11th Cir. 1983) (applying

Florida law).

                6.     Retraction Demands and OAN’s Alleged Access to Contradicting
                       Statements [Dkt. 1: ¶¶ 63-64].

       Plaintiffs complain that despite a retraction demand dated December 18, 2020, from

Dominion and a letter from Smartmatic dated December 11, 2020, OAN “did not acknowledge

that there was no evidence to support its claims” regarding Smartmatic. [Dkt. 1: ¶¶ 63-64].

Plaintiffs’ general denials and retraction demand, however, do not establish knowledge or serious

doubt as to falsity. See e.g., Edwards v. Nat’l Audubon Soc’y, Inc., 556 F.2d 113, 121 (2nd Cir.

1977) (actual malice “cannot be predicated on the mere denials, however, vehement; such denials

are so commonplace in the world of polemical charge and countercharge that, in themselves, they

hardly alert the conscientious reporter to the likelihood of error”). Plaintiffs’ contention that there

was publicly available and easily accessible information showing which company’s election

technology and software were selected for use in each state and county, including contested states,

simply does not address the issues of legacy technology designed and developed by Plaintiffs that

remained in voting machines used in the 2020 Election or the lack of transparency of ownership

that are the subject of the Complained of Publications.

       Moreover, Smartmatic’s statements that OAN’s reporting was inaccurate and denials that

its electronic voting systems are not vulnerable to rigging, hacking or abuse, were not enough to

alert OAN to a likelihood of error. “Publisher’s need not accept ‘denials however, vehement; such

denials are so commonplace in the world of polemical charge and countercharge that, in

themselves, they hardly alert the conscientious reporter to the likelihood of error. Edwards, 556

F.2d at 121; see also Coliniatis v. Dimas, 965 F. Supp. 511, 519 (S.D.N.Y. 1997). Indeed, unlike



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evidence that could be readily verified, Smartmatic’s denials did not give OAN “obvious reasons”

to doubt the veracity of its broadcasts. See McFarlane I, 74 F.3d at 1299.

         Furthermore, as has been evidenced by Smartmatic’s discovery conduct throughout this

litigation, including thwarting OAN’s ability to take the depositions of Smartmatic witnesses at

every turn, virtually every record and information that might have shed light on Smartmatic’s

history and technology have been marked “CONFIDENTIAL” and often bearing the “Attorneys

Eyes-Only” stamp,39 meaning they are not and were not available for public disclosure and,

therefore, not available via its websites or otherwise prior to the broadcasts. See Lohrenz v.

Donnelly, 187 F.R.D. 1, 10 (D.D.C. 1999) (finding plaintiff’s full performance records were not

available in advance of publication without plaintiff’s consent).” The failure to verify statements

with the plaintiff and reliance upon some biased sources, in themselves, do not amount to reckless

disregard for the truth.” Lohrenz v. Donnelly, 350 F.3d 1272, 1286. This is also particularly true

when it comes to Plaintiffs’ corporate structure and business activities in countries such as

Venezuela and the Philippines. The mere proffering of purportedly credible evidence that

contradicts the publisher’s story is not enough to meet the standard of reckless disregard for the

truth. See Id. at 1284.

         Nonetheless, as the D.C. Circuit has explained, “reporting perspectives at odds with the

publisher’s own, ‘tend [] to rebut a claim of malice, not to establish one.’” Montgomery, 197 F.

Supp. 3d at 261 quoting Lohrenz, 350 F.3d at 1286 (quoting McFarlane I, 74 F.3d at 1304)). On

several occasions, OAN included counterpoints and denials in their reports. For example, as the

Complaint acknowledges, on November 12, 2020, the Complaint states OAN anchor Salvi

“informed viewers that the New York Times reported that claims of ‘software glitches’ involving


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     Ex. N.



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Dominion machines in Michigan and Georgia are ‘baseless.’” [Dkt. 1: ¶ 33]. And on December 5,

2020, in the News Room broadcast, reporter Emily Finn stated “Smartmatic denied having any

connection with Dominion Voting Systems in the U.S.” [Dkt. 1: ¶ 59]. On December 26, 2020, on

Weekly Briefing with Christina Bobb, host Christina Bobb read the statement Newsmax prepared

in response stating, “Newsmax has found no evidence that either Dominion or Smartmatic owns

the other, or has a business association with each other. We have no evidence that Dominion uses

Smartmatic software or vice versa. No evidence has been offered that Dominion or Smartmatic

used software or reprogrammed software that manipulated votes in the 2020 election.” [Dkt. 1:

¶ 65].

                                     IV.     CONCLUSION

         This is an important case. We concede that in some quarters OAN is an unpopular speaker.

OAN has lost all of its major cable carriers (Verizon, AT&T Uverse and Direct TV). Google has

demonetized and periodically censors OAN content from appearing on YouTube, which Google

owns. Other conservative media have been targeted as well and Smartmatic and Dominion have

selectively filed lawsuits claiming damages against only conservative media which will be

potentially ruinous to the Defendants’ business if the cases are successful. None more so than

OAN, a small, family-owned news outlet which their major distributors and platforms are

censoring because of its content. The result of all this might soon mean that there are fewer voices

in this country. Just as the Supreme Court stepped in to stop the weaponization of the legal system

in some jurisdictions in the South that was designed to silence and not heed the rising voices of

the civil rights movement, this Court should enforce the protections that the Court erected in

Sullivan to save a voice that many in this jurisdiction (and elsewhere) find distasteful and who

would say should be silenced.




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       Chief Justice Roberts’ writing for the Court in Snyder v. Phelps, 562 U.S. 443, 458-61

(2011) said there what should be said here:

       “‘If there is a bedrock principle underlying the First Amendment, it is that the
       government may not prohibit the expression of an idea simply because society finds
       the idea itself offensive or disagreeable.’ … Speech is powerful. It can stir people
       to action, move them to tears of both joy and sorrow, and – as it did here – inflict
       great pain. On the facts before us, we cannot react to that pain by punishing the
       speaker. As a Nation we have chosen a different course – to protect even hurtful
       speech on public issues to ensure that we do not stifle public debate.”

       We ask that this motion be granted finding that the status of the Plaintiffs is such that the

actual malice element applies both to their claim for defamation and for punitive damages and that

there is no disputed material fact which could lead a reasonable jury to decide by clear and

convincing evidence that Defendant published any of the Complained of Publications with actual

malice and for such further relief as to which the Defendant is entitled.




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of December 2023, the foregoing was filed with the

Clerk of the Court using the CM/ECF system, which will electronically mail notification of the

filing to all counsel of record who are registered ECF users.

                                                 /s/ R. Trent McCotter
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